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 1   Vivek Jayaram (Pro Hac Vice)
     vivek@jayaramlaw.com
 2   Elizabeth Austermuehle (Pro Hac Vice)
     liz@jayaramlaw.com
 3   JAYARAM LAW, INC.
     125 S. Clark Street, Suite 1175
 4   Chicago, IL 60603
 5   Christian Anstett (SBN 240179)
     Anstett.law@gmail.com
 6   A Eric Bjorgum (SBN 198392)
     eric.bjorgum@kb-ip.com
 7   KARISH & BJORGUM PC
     119 E. Union Street, Suite B
 8   Pasadena, CA 91103
     Telephone: (213) 785-8070
 9
     Attorneys for Defendant Deejayzoo, LLC
10
11                      UNITED STATES DISTRICT COURT

12                    CENTRAL DISTRICT OF CALIFORNIA

13                               WESTERN DIVISION

14
15    Kitsch LLC, a California
16    company,                                Case No. 2:19-cv-02556-JAK-RAO
17                                            Honorable John A. Kronstadt
18              Plaintiff/Counter-
                Defendant,                    NOTICE OF MOTION AND
19    v.                                      MOTION TO WITHDRAW AS
20                                            COUNSEL OF RECORD FOR
                                              DEFENDANT DEEJAYZOO, LLC;
21    DEEJAYZOO, LLC, a New                   MEMORANDUM OF LAW
22    York company,
                                              Hearing Date: November 12, 2021
23              Defendant/Counter-            Time: 8:30 AM
24              Plaintiff.                    Place: Courtroom 10B
25
26
27
28

     MOTION TO WITHDRAW AS COUNSEL              CASE NO. 2:19-cv-02556-JAK-RAO
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 1           TO THE COURT, ALL PARTIES AND THEIR ATTORNEYS OF
 2   RECORD:
 3           PLEASE TAKE NOTICE that on November 12, 2021 at 8:30 AM, or as soon
 4   thereafter as the matter may be heard, before the Honorable John A. Kronstadt,
 5   located at the United States First Street Courthouse, 350 W. First Street, Courtroom
 6   10B, Los Angeles, CA 90012, counsel of record for Defendant Deejayzoo, LLC
 7   (“Deejayzoo”), Jayaram Law, will and hereby does move this court for order
 8   permitting Jayaram Law to withdraw as counsel of record for Deejayzoo in the above
 9   referenced action.
10           This motion is based on the grounds that (1) there has been a breakdown in
11   communication between Jayaram Law and Defendant such that continued
12   representation is no longer possible, and (2) Defendant’s breach in an agreement to
13   Jayaram Law as to expenses and fees.
14           This Motion is made following the conference of counsel pursuant to L.R. 7-
15   3 and Section 9.c of the Court’s Standing Order, which took place on October 13,
16   2021. Plaintiff does not oppose this motion.
17           Further, pursuant to L.R. 83-2.3.2, on October 7, 2021 and October 13, 2021,
18   Jayaram Law gave written notice to Defendant of this application for leave to
19   withdraw.
20           This Motion is based upon this Notice, the attached Memorandum of Points
21   and Authorities, the accompanying Declaration of Vivek Jayaram, filed concurrently
22   herewith, the pleadings and other papers on file in this action, and all matters of
23
     which the Court may take judicial notice.
24
25   Dated: October 15, 2021                   JAYARAM LAW, INC.
26
                                               By:   /s/ Vivek Jayaram
27
     Motion to Withdraw as Counsel of Record                    Case No. 2:19-cv-02556-JAK-RAO
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 1                                             Vivek Jayaram (Pro Hac Vice)
                                               vivek@jayaramlaw.com
 2                                             Elizabeth Austermuehle (Pro Hac Vice)
                                               liz@jayaramlaw.com
 3                                             JAYARAM LAW, INC.
                                               125 S. Clark Street, Suite 1175
 4                                             Chicago, IL 60603
 5                                             Christian Anstett (SBN 240179)
                                               Anstett.law@gmail.com
 6                                             A Eric Bjorgum (SBN 198392)
                                               eric.bjorgum@kb-ip.com
 7                                             KARISH & BJORGUM PC
                                               119 E. Union Street, Suite B
 8                                             Pasadena, CA 91103
                                               Attorneys for Defendant Deejayzoo, LLC
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 1                                     MEMORANDUM OF LAW
 2       I.       INTRODUCTION
 3             The Local Rules of the United States District Court for the Central District of
 4   California state that an attorney may not withdraw as counsel except by leave of
 5   court. L.R. 83-2.3.2. As such, the law firm of Jayaram Law, counsel of record for
 6   Defendant Deejayzoo, LLC (“Defendant” or “Deejayzoo”), seeks an order from this
 7   Court permitting Jayaram Law to withdraw as counsel of record for Defendant.
 8   Plaintiff does not oppose this motion.
 9       II.      ARGUMENT
10             A. Legal Standard
11             Rule 1.16 of the California Rules of Professional Conduct permits an attorney
12   to withdraw from representation of a client in several circumstances, including (1)
13   if the client “renders it unreasonably difficult for the [attorney] to carry out the
14   employment effectively” and (2) if the client “breaches a material term of an
15   agreement with, or obligation, to the lawyer relating to the representation, and the
16   lawyer has given the client reasonable warning after the breach that the lawyer will
17   withdraw unless the client fulfills the agreement or performs the obligation.” Cal.
18   Rules of Prof. Conduct 1.16 (b)(4) and (5). The decision to grant or deny a motion
19   to withdraw as counsel is within the sound discretion of the trial court. United States
20   v. Carter, 560 F.3d 1107, 1113 (9th Cir. 2009).
21             The Court may consider the following factors in ruling on a motion for
22   permissive withdrawal: (1) the reasons why withdrawal is sought; (2) the prejudice
23
     withdrawal may cause to other litigants; (3) the harm withdrawal might cause to the
24
     administration of justice; and (4) the degree to which withdrawal will delay the
25
     resolution of the case.             See Marcus v. ABC Signature Studios, Inc., No.
26
     CV1700148RSWLAJWX, 2017 WL 5635020, at *1–2 (C.D. Cal. June 7, 2017).
27
     Motion to Withdraw as Counsel of Record                       Case No. 2:19-cv-02556-JAK-RAO
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 1           B. There has been a breakdown of the client-attorney relationship,
 2               justifying attorney’s withdrawal.
 3           The lack of a cooperative relationship between an attorney and his client may,
 4   at times, justify the attorney’s withdrawal. See, e.g., Marcus, 2017 WL 5635020, at
 5   *2 (C.D. Cal. June 7, 2017), (granting counsel’s request to withdraw on the basis of
 6   a breakdown of communication); McClintic v. U.S. Postal Service, No. 1:13-cv-
 7   00439, 2014 WL 51151, at *2 (E.D. Cal. Jan. 7, 2014) (breakdown of
 8   communication justified granting counsel’s request to withdraw); Lewis v. Nevada
 9   Cnty., No. CIV S-07-1653 FCD/EFB, 2009 WL 463510, at *1 (E.D. Cal. Feb. 23,
10   2009) (client’s failure to cooperate and follow attorney’s advice justified granting
11   attorney’s request to withdraw).
12           Here, as set forth in the accompanying declaration of Vivek Jayaram, without
13   compromising the attorney-client relationship, there has been an irreparable
14   breakdown in communication between Defendant and Jayaram Law, such that
15   effective representation is no longer possible. If the Court requires further detail in
16   this regard, an in-camera hearing is respectfully requested. See Jayaram Dec. at ¶ 2.
17           C. There has also been a breach of a material term of the agreement
18               between Jayaram Law and Defendant, justifying attorney’s
19               withdrawal.
20           The failure of a client to pay attorney’s fees provides a sufficient basis on
21   which to grant a request to withdraw from representation. See, e.g., Stewart v. Boeing
22   Co., No. CV 12-05621 RSWL, 2013 WL 3168269, at *2 (C.D. Cal. June 19, 2013)
23
     (where client failed to pay the outstanding balance for his legal representation and it
24
     is unlikely that he will pay in the future); Dist. Council 16 N. Cal. Health & Welfare
25
     Trust Fund v. Lambard Enters., Inc., No. C 09–05189SBA, 2010 WL 3339446 at *1
26
27
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 1   (N.D. Cal. Aug. 24, 2010); Darby v. City of Torrance, 810 F. Supp. 275, 276 (C.D.
 2   Cal.1992).
 3           In this case, Defendant has failed to pay the outstanding balance for its
 4   representation since May 2020, despite the engagement letter requiring Defendant
 5   to pay outstanding legal fees at the beginning of each month. In an attempt to work
 6   with Defendant, Jayaram Law has worked out payment plans with Defendant, but it
 7   has not met the deadlines for those payment plans. As such, Defendant it is unlikely
 8   to rectify this situation in the future. Continued representation of Deejayzoo will
 9   result in an unreasonable financial burden on Jayaram Law. See Jayaram Dec. at ¶
10   4. If the Court requires the total amount of fees due, an in-camera hearing is
11   respectfully requested. Id.
12           D. Defendant will not be unduly prejudiced from granting this motion to
13               withdraw.
14           Jayaram Law’s withdrawal will not prejudice Defendant. As of the filing of
15   this Motion, the next deadlines are for expert discovery, with Defendant’s expert
16   report due on October 25, 2021 and deposition of Defendant’s expert by November
17   8, 2021. See ECF No. 210. Jayaram Law has identified an expert who can provide
18   a written report and be deposed within that timeframe. Jayaram Law has relayed
19   that contact information to Defendant, who has engaged the expert. The outer date
20   for these upcoming expert discovery deadlines is January 31, 2022. Id. This provides
21   Defendant with sufficient time to obtain new counsel and bring said counsel up to
22   speed. Further, continued representation of Defendant in this suit will result in an
23
     unreasonable financial burden on Jayaram Law. See Jayaram Dec. at ¶ 4.
24
             E. All parties were given due notice of Jayaram Law’s intent to
25
                 withdraw.
26
             Pursuant to L.R. 83-2.3.2, on October 7, 2021 and October 13, 2021, Jayaram
27
     Motion to Withdraw as Counsel of Record                  Case No. 2:19-cv-02556-JAK-RAO
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 1   Law sent written correspondence to Defendant, notifying that Jayaram Law would
 2   be filing this Motion. On October 14, 2021, Jayaram Law sent Defendant the
 3   Substitution of Attorney forms. See Jayaram Dec. at ¶ 8; Ex. 1. Pursuant to L.R. 7-
 4   3 and Section 9.c of the Court’s Standing Order, on October 13, 2021, Jayaram Law
 5   contacted Mark Cantor of Brooks Kushman P.C., counsel for Kitsch LLC (“Kitsch”
 6   or “Plaintiff”) to meet and confer regarding the subject matter of this Motion. Mr.
 7   Cantor was advised that Jayaram Law would be filing this Motion and Plaintiff
 8   advised that it does not oppose this Motion. On October 15, 2021, Plaintiff was
 9   served written notice of the Motion. As such, Jayaram Law has provided proper
10   notice to its client and to all other parties of its intention to withdraw as counsel.
11       III.    CONCLUSION
12           Based on the foregoing, Jayaram Law respectfully requests that the Court
13   grant its motion to withdraw as counsel of record for Defendant.
14
15   Dated: October 15, 2021                   JAYARAM LAW, INC.
16
                                               By:    /s/ Vivek Jayaram
17
                                               Vivek Jayaram (Pro Hac Vice)
18                                             vivek@jayaramlaw.com
                                               Elizabeth Austermuehle (Pro Hac Vice)
19                                             liz@jayaramlaw.com
                                               JAYARAM LAW, INC.
20                                             125 S. Clark Street, Suite 1175
                                               Chicago, IL 60603
21
                                               Christian Anstett (SBN 240179)
22                                             Anstett.law@gmail.com
                                               A Eric Bjorgum (SBN 198392)
23                                             eric.bjorgum@kb-ip.com
                                               KARISH & BJORGUM PC
24                                             119 E. Union Street, Suite B
                                               Pasadena, CA 91103
25
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 1                               DECLARATION OF VIVEK JAYARAM
 2
             I, Vivek Jayaram, do hereby declare:
 3
 4           1.      I am an attorney with the law firm Jayaram Law, Inc., and counsel of

 5   record for Defendant, Deejayzoo, LLC. I respectfully submit this declaration in
 6
     support of Jayaram Law, Inc.’s motion for leave to withdraw as attorneys for
 7
 8   Defendant.
 9           2.      Without compromising the attorney-client relationship, there has been
10
     an irreparable breakdown in communication between the principal of Defendant,
11
12   Jacqueline De Jesu, and Jayaram Law, such that effective representation is no longer
13   possible. If the Court requires further detail in this regard, an in camera hearing is
14
     respectfully requested.
15
16           3.      In March 2019, my firm was retained by Defendant to represent it in
17   this action. The engagement letter provided that Defendant would be billed in arrears
18
     at the beginning of each month for outstanding legal costs and fees incurred in the
19
20   prior month.
21           4.      However, Defendant also has not paid Jayaram Law, Inc. for legal
22
     services that it has rendered on Defendant’s behalf in this action since May 2020.
23
24   Jayaram Law has worked with Defendant in order to determine an installment
25
     payment plan, but Defendant has not met any of the deadlines set out in the payment
26
     plan. It does not appear that Defendant will be able to pay the outstanding fees and
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 1   as such, continued representation of Defendant in this suit will result in an
 2
     unreasonable financial burden on Jayaram Law. If the Court requires the total
 3
 4   amount of fees due, an in-camera hearing is respectfully requested.

 5           5.      On October 7, 2021 and on October 13, 2021, I advised Ms. De Jesu
 6
     that my firm would need to withdraw if Defendant did not pay its outstanding legal
 7
 8   fees and if we were unable to come to an agreeable resolution of outstanding
 9   disagreements. I advised Ms. De Jesu that Deejayzoo should identify replacement
10
     counsel so that my firm could ensure the timely transition of this representation.
11
12           6.      Granting Jayaram Law, Inc.’s motion for leave to withdraw will not
13   prejudice this action. The next deadlines are for expert discovery, with Defendant’s
14
     expert report due on October 25, 2021 and deposition of Defendant’s expert by
15
16   November 8, 2021. See ECF No. 210. Jayaram Law has identified an expert who
17   can provide a written report and be deposed within that timeframe. Jayaram Law as
18
     relayed that contact information to Defendant, who has engaged the expert. The
19
20   outer date for these upcoming expert discovery deadlines is January 31, 2022. Id.
21   This provides Defendant with sufficient time to obtain new counsel and bring said
22
     counsel up to speed. There are currently no other pending motions.
23
24           7.      Pursuant to L.R. 83-2.3.2, on October 7, 2021 and October 13, 2021, I
25
     sent written correspondence to Defendant, notifying that Jayaram Law would be
26
     filing this Motion. On October 14, 2021, I sent Defendant the Substitution of
27
     Motion to Withdraw as Counsel of Record                    Case No. 2:19-cv-02556-JAK-RAO
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 1   Attorney forms. A true and correct copy of my correspondence is attached hereto as
 2
     Exhibit 1.
 3
 4           8.      Pursuant to L.R. 7-3 and Section 9.c of the Court’s Standing Order, on

 5   October I contacted Mark Cantor of Brooks Kushman P.C., counsel for Kitsch LLC
 6
     (“Kitsch” or “Plaintiff”) to meet and confer regarding the subject matter of this
 7
 8   Motion. I advised Mr. Cantor that Jayaram Law would be filing this Motion and
 9   requested that he advise me whether Plaintiff would object and/or oppose the
10
     motion. Mr. Cantor let me know that Plaintiff will not oppose this Motion. On
11
12   October 15, 2021, I served Plaintiff with written notice of the Motion.
13           9.      Although attempts were made, Jayaram Law was unable to procure a
14
     substitution of attorney from Defendant prior to bringing the instant motion.
15
16           I declare under penalty of perjury that the foregoing is true and correct.

17   Executed this 15th day of October, 2021
18
19                                                   /s/ Vivek Jayaram
20                                                   Vivek Jayaram
                                                     125 S. Clark Street, Suite 1175
21                                                   Chicago, IL 60603
                                                     Phone: 312-212-8676
22                                                   Cell: 646-325-9855
                                                     Email: vivek@jayaramlaw.com
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